Case 6:19-cr-00041-H-BU       Document 207       Filed 03/09/20     Page 1 of 1     PageID 417



                           LTNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                SAN ANGELO DIVISION

  UNITED STATES OF AMERICA,
    Plainffi,

                                                            NO. 6:19-CR-041-08-H

  SHANNONMCGHEE (8),
     Defendant.


              ORDER ACCEPTING REPORT AND RECOMMENDATION
                 OF TIIE TJNTTED STATES MAGISTRATE JIJDGE
                        CONCERNING PLEA OF GUILTY

         After reviewing all relevant matters of record, including the Notice Regarding Entry

  of a Plea of Guilty, the Consent of the Defendant, and the Report and Recommendation

  Conceming Plea of Guilty of the United States Magistrate Judge, and no objections thereto

  having been filed within fourteen (14) days of service in accordance with 28 U.S.C.

  $ 636OXl), the undersigned District Judge is of the opinion that the Report and

  Recommendation of the Magistrate Judge conceming the Plea of Guilty is corect, and it is

  hereby accepted by the Court. Accordingly, the Court accepts the plea of guilty and

  Defendant is hereby adjudged guilty.

         Sentence will be imposed in accordance with the Court's scheduling order.

         SO ORDERED,

         Dated March        ,2020.



                                            JAME         SLEY   ND
                                                       STATES DISTRICT JUDGE
